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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

                -v-                                                     Case   No. L5-MI-4212(P)

EMANUEL L. LUTCHMAN,

                                Defendant.




                                OMNIBUS PROTECTTVE ORDER


        i.      The Court has before it the United States' Motion for Omnibus Protective Order.

The United States warrants that the motion has been discussed and shown to the defendant's

attorneys, Steven G. Slawinski, Esq., and Anne M. Burger, Esq., and that defense counsel has no

objection to the motion or the terms of this Omnibus Protective Order.


        2.      The United States     seeks   to protect from unauthorized disclosure: (a)    personal

identiflers of third parties, including addresses, dates of birth, medical information, social security

numbers, etc., within the general discovery materials; (b) sensitive discovery material (as defined

below); and (c) any personal identifiers of FBI Confidential Human Sources ("CHS") , whether the

information is found within general discovery or sensitive discovery materials.


        3.      The Court finds that the requested Omnibus Protective Order is necessary for the

following reasons:


        First, the United States will be providing voluntary discovery in this case. To be able to

provide the defendant with discovery in a timely manner, the United States will be turning over

portions of general discovery and may not have been able to properly redact all personal identifiers

of third parties, such as home addresses, birth dates, social security numbers, etc.
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       Second, the United States has a substantial and compelling interest in preventing sensitive,

but unclassified, discovery material from being disclosed to anyone not a parfy to the court
proceedings   in this matter. Such material may include information relevant to ongoing national

security investigations and prosecutions,


       Third, if any information concerning the true or covert identities of any CHS is declassified,

the United States has a subst antialand compelling interest in preventing this information from being

disclosed to anyone not a party to the court proceedings. Protection of any unclassified information

regarding any CHS may be necessary             to protect ongoing national security   investigations and

prosecutions. Protection may also be necessary for the personal safety of a CHS or others.


        4.      The Court finds that Federal Rule of Criminal Procedure 16(d)(1) provides the Court

with authority to grant appropriate relief to parties for good cause shown. The Court finds that good

cause exists for entering this Omnibus Protective Order.


        TIMREFORE, IT IS ORDERED:


        5.       The unopposed Motion for Omnibus Protective Order is GRANTED and the terms

of the protective order shall be as follows:


        6.       When producing discovery, the United States will notify defense counsel what

materials are considercd geteraldiscovery and what materials are considered sensitive discovery.


              Protection of Third Parry Personal Identifiers Within the General Discovery


        7.       As part of its obligation pursuant to Federal Rule of Criminal Procedure 16, the

United States will provide the defendant with general discovery documents which may be subject to

the Privacy Act, 5 U.S.C. $ 552, and the Disclosure of Information in Possession of the Social

Security Administration Act, 42 U.S.C. $ 1306, because they may contain names, addresses, social
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security numbers, dates of birth and financial account numbers.        In order to limit the dissemination

of the above-described protected general discovery, the following protective conditions shall apply to

general discovery:


        8.       "General discovery materials" shall not be further disseminated' by the defendant or

his counsel of record to any individuals , organizations or other entities, other than: members of the

defense team (co-counsel, paralegals, investigators, translators,       litigation support personnel, the

defendant and secretarial staff), and experts consulted or retained to assist in the preparation of the

defense.


        9.       Each of the individuals to whom disclosure is made pursuant to the above provision

shall be provided a copy of this Omnibus Protective Order and will be advised that he or she shall

not further disseminate the materials except by the express direction of counsel of record or co-

counsel. In addition, counsel of record for the defendant, any co-counsel, and any                  defense

investigator may show (but not provide copies of) any of such general discovery materials to

witnesses or potential witnesses,     if it is determined that it is necessary to do   so for the purpose   of

preparing the defense of the case.


           10.   Any protected general discovery in this case, including any copies, notes, summaries,

etc., will be stored at defense counsel's office or the office of an expert who, as noted, shall be subject

to the same disclosure limitations.


           11.   Any document filed with the Court, including any attachment, which contains
protected general discovery, or a description or reproduction thereof, will be filed in redacted form

(redacting the portions    of the pleading     referencing protected general discovery)       or under seal
pursuant to Western District of New York Local Criminal Rule 55.

1 "Disseminate" means to provide, show or describe      to another either a particular piece of discovery or
quotations, exce{pts, or summaries derived therefrom.
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        lZ.     The procedure for use of protected general discovery during any hearing or trial of

this matter shall be determined by the parties and the Court in advance of the hearing or trial. The

parties shall consider redacting protected general discovery to remove individual personal identifiers,

request the Court to submit such documents under seal, code the documents to substitute numerical

or other designations for the individual's name or other identiffing information, request that any

exhibit be placed under seal with an instruction to the jury not to disclose any information contained

therein, and introduce any summary evidence where practicable which may be more easily redacted.


        13.     Nothing contained in this order shall prevent or in any way limit or impair the right

of the United States to disclose to any regulatory or law enforcement agency, or any agency or

department of the United States,      or any division of any such agency or department,       protected

general discovery documents related     to any potential violation of law or regulation, or relating to

any matter within that agency's jurisdiction; nor shall anything contained in this order prevent or in

any way limit or impair the use of any such protected general discovery by an agency in any

proceeding relating to any potential violation of law or regulation, or relating to any matt$ within

that agency's jurisdiction; provided, however, that the agerlcy shall maintain the confidentiality of

the protected general discovery consistent with the terms of this order. A copy of this order will be

provided to said regulatory agency, law enforcement agency, or any division, agency, or department

of the United   States,   to ensure compliance therewith in connection with disclosure of protected

discovery documents.


                               Protection of Ser-rsitive Discovery Materials


        14.     For the purpose of this Omnibus Protective Order, the term "sensitive discovery

materials" includes all declassified or formerly-classified information or materials that may be

reviewed by or made available to the defendant or defense counsel in this case.
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        15.       "sensitive discovery materials" shall not be further disseminated by the defendant or

his counsel to any individuals   ,   organizatrons or other entities, other than (a) members of the defense

team (co-counsel, paralegals, investigators, ffanslators, litigation support personnel, the defendant

and secretarial staff); and (b) experts consulted or retained to assist in the preparation of the defense.


        i6.       The government shall appropriately mark sensitive discovery material.


        17.       It is expressly understood that the defendant, counsel for the defendant, co-counsel,
members   of the defense team (co-counsel, paralegals, investigators, translators, litigation      support

personnel, the defendant and secretarial staff) and experts consulted or retained to assist the defense

SHALL NOT funher disseminate any sensitive discovery materials to witnesses or potential

witnesses, except as provided herein.


        18.       Counsel of record for the defendant, any co-counsel, and any defense investigator

may show (but not provide copies of) sensitive discovery materials to witnesses or potential

witnesses,    if it is determined that it is necessary to do so for the purpose of preparing the defense of

the case. However, the defense shall maintain a written record of the witnesses that have viewed the

sensitive materials, the particular items viewed, and relevant dates and times.


        L9.       Each of the individuals to whom disclosure is made shall be provided a copy of this

Omnibus Protective Order and will be advised that he or she shall not further disseminate the

materials except by the express direction of counsel of record or co-counsel.


        20.       Defense counsel in receipt of sensitive discovery materials may only make copies       of

such materials in accordance with this Omnibus Protective Order.


        2t.       Any document filed with the Court, including any attachment, which contains
sensitive discovery materials, or a description or reproduction thereof,     will be filed in redacted form
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(redacting the portions      of the pleading referencing protected sensitive discovery) or under     seal

pursuant to Western District of New York Local Criminal Rule 55.


        22.        Counsel shall store all sensitive discovery materials, and any copies thereof, in a

secure place.


        23.        Nofwithstanding any other provision of this or any other Protective Order that may

be entered by the Court, the disclosure or discovery of any materials that may be submitted to the

Court in connection with any litigation related to the provisions of 50 U.S.C. Ch. 56 shall be

governed by that Chapter, and/or the Classified Information Procedures Act         ("CIPA"), 18 U.S.C.

App. III, $ l,   et seq,



                      CHS Personal Identifiers in Either General or Sensitive Disqovery


        24. If any declassified        information about the actual or cover personal identifiers of any

CHS is included in EITHER general or sensitive discovery materials, the following protections shall

applv


        25.        The defendant and counsel will not publicly disclose the actual or cover names of

any CHS in any pre-trial filing or at any pre-trial hearing in open court.


        26.        The defendant and counsel will not disseminate any declassified information about a

CHS except to (a) members of the defense team (co-counsel, paralegals, investigators, translators,

litigation support personnel, the defendant, and secretarial staff); and (b) experts retained to assist in

the preparation of the defense. Each of the individuals to whom disclosure is made pursuant to the

above provision shall be provided a copy of this Omnibus Protective Order and        will be advised that

he or she shall not further disseminate the materials except by the express direction of counsel of

record or co-counsel.



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        27.      A11   audio and video recordings in which a CHS can be seen, heard, or is discussed

shall not be copied or reproduced in any way unless the defendant obtains advance approval from

the United States. Copies may ONLY be provided to members of the defense team (co-counsel,

paralegals, investigators, ffanslators, litigation support personnel, the defendant and secretarial staff),

and may only be provided to further the legitimate investigation and preparation of this case.


        28.      All audio and video recordings in which a CHS       can be seen, heard, or is discussed

must be maintained at the office of defense counsel, and removed from such offrces only by

members of the defense team (co-counsel, paralegals, investigators, translators, litigation support

personnel, the defendant and secretarial staff). Audio and video recordings in which a CHS can be

seen, heard,   or is discussed may be played for and reviewed by the defendant, but such recordings

shall not be given to the defendant or kept or maintained at any    jail or detention faciltty in which   he

is housed.


                                           General Provisions


        29.      These general provisions apply to this Omnibus Protective Order as a whole:


        30.      Any modifications of this Omnibus Protective Order will only be done by order of

the Court. Until the Court rules on any such motion, no disclosure of protected general or sensitive

discovery shall be made, except in compliance with this Omnibus Protective Order.


        31.      At the conclusion of this criminal matter, including any appeals or post-conviction
proceedings, defense counsel shall return to the United States all discovery materials and any copies

thereof. Defense counsel shall also destroy any derivative contents of protected general and sensitive

discovery materials, e.g., verbatim excerpts of recordings or transcripts      (if they exist), other than

attorney work product.
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        32.     All   general and declassified sensitive discovery information that may be provided as

part of the discovery materials in this case is now and will forever remain the property of the United

States. Notwithstanding any other provision of this or any other protective order that may be

entered by the Court, the disclosure or discovery of materials that may be submitted to the Court in

connection with any litigation related to the provisions of 50 U.S.C. Ch. 56 shall be governed by that

Chapter and/or CIPA, 18 U.S.C. App.           III, $I,   et seq.



        33.     Notwithstanding any other provisions of this or any other protective order that may

be entered by the Court, the handling of any classified material MUST be done in accordance with

CIPA,   18 U.S.C.   App. III, $ |   et seq.



        34.      This Omnibus Protective Order shall survive the termination of this action.



IT IS SO ORDERED.

DATED: January 26 ,2016
                                                                   (Ylo'icn   \frr..1*
                                                                   HON. MARIAN W. PAYSON
                                                                   United States Magistrate Judge
                                                                   Western District of New York
